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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

 IN THE MATTER OF THE FEDERAL
 BUREAU OF PRISONS' EXECUTION
 PROTOCOL CASES

 LEAD CASE: Roane et al. v. Barr                    No. 1:19-mc-00145(TSC)

 THIS DOCUMENT RELATES TO:

 ALL CASES




                            DECLARATION OF ERIC WILLIAMS

I, Eric Williams, do hereby declare and state as follows:

1.     I am currently employed by the Bureau of Prisons (BOP) as Warden at the Federal

       Correctional institution at Greenville, Illinois (FCI Greenville). I am also involved in

       functions related to the BOP’s role in effectuating executions.

2.     The statements I make hereinafter are made on the basis of my review of the official files

       and records of the BOP, my own personal knowledge, or on the basis of information

       acquired by me through the performance of my official duties.

3.     I am aware that the execution of Brandon Bernard is at issue in the above referenced

       lawsuit. I witnessed the execution on December 10, 2020, from inside the execution room,

       several feet from Mr. Bernard. My observations are as follows.

4.     In preparation for the execution, Mr. Bernard was brought into the execution room and

       placed on a bed where he was restrained and IV lines were inserted. After the successful

       placement of the IV lines, Mr. Bernard’s Minister of Record was escorted into the

       execution room, and the two spoke to each other and prayed together. After they were

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       finished talking and praying, the curtains in the execution room were raised. At that time,

       I asked Mr. Bernard if he would like to make a statement, which he did. When he was

       finished, I read Mr. Bernard’s sentencing information aloud, and asked the U.S. Marshals’

       representative to check whether there were any impediments to proceed with the execution.

       The U.S. Marshals’ representative informed me there were no impediments to proceed.

5.     Thereafter, the administration of the lethal injection substances began. At the same time,

       Mr. Bernard spoke to his Minister of Record and stated, “tell my family I love them.” Mr.

       Bernard then asked me if he could pray, and I told him yes, he could speak. Mr. Bernard

       began reciting the Lord’s Prayer.

6.     Toward the end of the Lord’s Prayer, he began to slow down. He then yawned and his

       upper body and arms shook slightly, which I perceived as an indication that the drug was

       entering his system. I recall this taking place no more than approximately a few minutes

       from the time the administration of the drug started.

7.     Immediately after Mr. Bernard yawned, he fell asleep. I observed his chest and abdomen

       rising and falling as he was sleeping. He did not make any sounds and did not appear to be

       in any pain or discomfort.

8.     Mr. Bernard continued to sleep until approximately 9:17 or 9:18 p.m., at which time it

       appeared he had stopped breathing. After several minutes, a physician entered the room

       and checked his heartbeat with a stethoscope. Thereafter, Mr. Bernard’s time of death was

       pronounced at 9:27 p.m.




I declare, under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true and

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correct. Executed this 21st   day of December, 2020.


                                                 ____________________________
                                                 Eric Williams
                                                 Federal Bureau of Prisons




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